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                         No. 20-10242


  IN THE UNITED STATES COURT OF APPEALS
          FOR THE NINTH CIRCUIT


              UNITED STATES OF AMERICA,

                                      Appellee,

                                v.

                        JACOB LYMAN,

                                      Defendant-Appellant.


     On Appeal From the United States District Court
                for the District of Hawaii
                Crim. No. 12-01256 DKW


                  BRIEF FOR APPELLEE


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                             INTRODUCTION

     This appeal is from the denial of a motion for compassionate

release brought pursuant to 18 U.S.C. § 3582(c)(1)(A). Defendant-

appellant Jacob Lyman, through counsel, offered two bases for the

motion: (a) his alleged risk of severe illness from COVID-19, and (b) the

non-retroactive change to the applicable statutory mandatory minimum

that was wrought by the First Step Act after Lyman was sentenced.

     The district court correctly concluded that Lyman’s risk of

contracting COVID-19 in prison was not an extraordinary and

compelling reason warranting release in light of two critical facts:

Lyman had already contracted COVID-19 and had recovered without

becoming seriously ill; and the facility where Lyman was incarcerated

had, at the time the district court ruled, no inmates with active cases of

COVID-19. The district court also correctly concluded that a non-

retroactive change in the statutory mandatory minimum was not an

extraordinary and compelling reason warranting release. To hold

otherwise would be to overrule Congress’s decision not to make the

statutory amendment retroactive.




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     While the district judge viewed U.S.S.G. § 1B1.13 and U.S.S.G.

§ 1B1.13 cmt. n.1(A) as binding upon him, and some courts do not, that

is immaterial in this case. Judged under any standard, Lyman did not

present any extraordinary and compelling reason warranting release.

      The district judge found it unnecessary to reach the section

3553(a) factors. The district court correctly concluded that

compassionate release was not warranted in this case, and that decision

was not an abuse of its discretion. To the contrary, it was well-reasoned

and appropriate in light of the facts of the case.

                 JURISDICTION AND TIMELINESS

     The district court had jurisdiction pursuant to 18 U.S.C. § 3231.

The district court’s order denying compassionate release was entered on

July 27, 2020. ER-1–6. Lyman timely filed a notice of appeal the next

day. ER-8 (notice of appeal); ER-38 (docket sheet). This Court has

jurisdiction pursuant to 28 U.S.C. § 1291.

                               BAIL STATUS

     Lyman is currently incarcerated at Lompoc USP. His projected

release date is December 14, 2029.




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                     STATEMENT OF THE ISSUE

     Whether the district court abused its discretion when it denied

Lyman’s motion for compassionate release, (1) given that (a) Lyman had

already contracted COVID-19 and did not experience adverse

consequences and (b) Lyman failed to show that he was likely to

contract COVID-19 again, and (2) given that the reduction in the

statutory mandatory minimum of which he would like to take

advantage was not retroactive.

          PERTINENT STATUTES AND REGULATIONS

     Pertinent statutes and regulations are reproduced in the

addendum to this brief.

                      STATEMENT OF THE CASE

The Criminal Case

     In November 2012, Lyman was charged by criminal complaint

with possession with intent to distribute methamphetamine, and he

was detained pending trial. ER-30–31 (docket sheet). Shortly

thereafter, a grand jury returned an indictment charging him with

three counts of distribution of methamphetamine in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(A). Id. The government subsequently

filed a Special Information as to Prior Drug Conviction pursuant to 21
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U.S.C. § 851. ECF No. 29, ER-34. Lyman was therefore subject to a

20-year mandatory minimum sentence. 21 U.S.C. § 841(b)(1)(A).

     On July 31, 2013, pursuant to a plea agreement, Lyman entered a

plea of guilty to Count 2 of the Indictment. ECF No. 31, ER-34. A year

later, on July 30, 2014, Lyman was sentenced to 240 months’

imprisonment to be followed by 10 years’ supervised release, and

Counts 1 and 3 of the Indictment were dismissed. ECF Nos. 54 & 55,

ER-36 (docket sheet); ER-10–15 (judgment).

COVID-19 and BOP

     The government is acutely aware that COVID-19 is a serious

illness that presents risks to all citizens, not only inmates. The Bureau

of Prisons (BOP) has taken significant measures in an effort to protect

the health of the inmates in its charge. Unfortunately and inevitably,

some inmates have become ill.

     There are many challenging factors to consider during this

unprecedented pandemic. For example, notwithstanding the current

pandemic crisis, BOP must carry out its charge to incarcerate sentenced

criminals to protect the public. It must consider the effect of a mass

release on the safety and health of both the inmate population and the


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citizenry. It must marshal its resources to care for inmates in the most

efficient and beneficial manner possible. It must assess the

appropriateness and viability of release plans, which are essential to

ensure that a defendant has a safe place to live and access to health

care in these difficult times. And it must consider a myriad of other

factors, including the availability of transportation for inmates (at a

time that interstate transportation services often used by released

inmates are providing reduced if any service), and of supervision of

inmates once released (at a time that the Probation Office has

necessarily cut back on home visits and supervision).

The Situation When the District Court Considered Lyman’s
Motion for Compassionate Release

     Lyman was arrested on November 30, 2012, and he was detained

pending trial. ER-31 (docket sheet). As of the filing of his

compassionate release motion on July 2, 2020, he had served 91 months

and two days, or about 38%, of his 240-month sentence.

     When the district court denied Lyman’s motion for compassionate

release, there were no inmates and just two staff members at Lompoc

with active cases of COVID-19. ER-1–2; ER-5 & n.2.



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The Motion and the Court’s Order

     On July 2, 2020, Lyman filed, through counsel, a motion for

compassionate release. ECF No. 59, ER-37 (docket sheet). 1 The

memorandum submitted in support of Lyman’s motion for

compassionate release argued that FCI Lompoc had suffered the worst

COVID-19 outbreak of any federal penitentiary, SER-18, that Lyman

suffered from various medical conditions, including asthma, obesity,

and chronic kidney disease, SER-20–25, and that he was 40 years old.

SER-24. Lyman admitted, however, that he had already contracted

COVID-19 and had not had serious symptoms. SER-19.

     In a footnote at the end of the memorandum, Lyman noted that

his mandatory minimum sentence had been 20 years, and that would

have been reduced by the First Step Act—if it applied to him—to 15

years. SER-28 n.33. He conceded that he had “not yet served even 15

years in this case.” Id. (As noted above, he had served 91 months and




     1 Lyman’s motion was filed with the district court more than 30

days after Lyman submitted a request to his warden for compassionate
release and more than 30 days after the warden denied that request.
ECF No. 59-3; ECF No. 59-4. Accordingly, Lyman met the “exhaustion”
requirement set forth in 18 U.S.C. § 3582(c)(1)(A).
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two days—just over half of 15 years.) He then asked, in the footnote,

that “the change in law be considered under § 3553(a).” Id.

     In a subsequent supplemental memorandum, Lyman argued that

“[u]nder today’s law, Mr. Lyman would instead face a mandatory

minimum sentence of 180 months based on his prior drug conviction,

rather than 240-months.” SER-6. Lyman asked that his sentence be

reduced to time served, or at least to 180 months, although that would

not result in his immediate release. SER-7–8. Lyman noted that, if the

district court reduced his sentence to 180 months, he would have served

more than 50 percent of that sentence. SER-8.

     On July 27, 2020, the district court denied Lyman’s motion for

compassionate release. ER-1–6. In summary: “First, while Lyman

asserts that he suffers from certain risk factors for the coronavirus, the

record reflects that he has already contracted the virus and not reported

any adverse consequences. In addition, the facility at which he is

incarcerated, although once having a high number of cases, now has no

instances of inmate infection. Second, as far as this Court is concerned,

the change in the law occasioned by the First Step Act is not an




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“extraordinary and compelling” circumstance warranting release or

reduction under Section 3582(c)(1)(A)(i).” ER-1–2.

     This appeal followed.

                      SUMMARY OF ARGUMENT

     Because Lyman did not demonstrate “extraordinary and

compelling reasons” warranting his release, the district court did not

abuse its discretion in denying Lyman’s motion for compassionate

release. Lyman, who had already recovered from a symptom-free bout

of COVID-19, (a) did not show that he was likely to contract COVID-19

for a second time, and he (b) did not show that he was likely to contract

COVID-19 in a facility in which no inmates and only two staff were

infected with COVID-19. Furthermore, the district court correctly

rejected Lyman’s argument that his sentence should be reduced because

of a non-retroactive change in the statutory mandatory minimum.

Accordingly, Lyman failed to demonstrate “extraordinary and

compelling” reasons warranting release.

     The question of whether the policy statement, U.S.S.G. § 1B1.13,

and its commentary are binding upon district courts when

compassionate release motions are brought by defendants is a red


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herring in this case. Whether they are or not, the district court did not

abuse its discretion when it concluded that Lyman had failed to

demonstrate extraordinary and compelling reasons warranting his

release after he had served only about 91 months of his 240-month

sentence.

                        STANDARD OF REVIEW

     This Court reviews denials of motions for a sentence reduction

under 18 U.S.C. § 3582(c)(1)(A), known as motions for compassionate

release, for abuse of discretion. United States v. Mortensen, 822 F.

App’x 634, 634 n.1 (9th Cir. 2020); United States v. Carpenter, 816 F.

App’x 159, 159 (9th Cir. 2020) (citing United States v. Townsend, 98

F.3d 510, 512 (9th Cir. 1996)).

     To find an abuse of discretion, the district court’s decision must be

“(1) illogical, (2) implausible, or (3) without support in inferences that

may be drawn from the facts in the record.” United States v. Hinkson,

585 F.3d 1247, 1262 (9th Cir. 2009) (en banc) (internal quotations

omitted).

     This Court reviews “a district court’s interpretation of the

Sentencing Guidelines de novo, its factual findings for clear error, and


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its application of the Guidelines to the facts of the case for abuse of

discretion.” United States v. McCarns, 900 F.3d 1141, 1143 (9th Cir.

2018).

                                   ARGUMENT

     THE DISTRICT COURT DID NOT ABUSE ITS
     DISCRETION IN DENYING LYMAN’S MOTION FOR
     COMPASSIONATE RELEASE PURSUANT TO 18
     U.S.C. § 3582(c)(1)(A).

A.   The Governing Law

     As amended by the First Step Act, Title 18, United States Code,

Section 3582(c)(1), provides in pertinent part:

       The court may not modify a term of imprisonment once it
     has been imposed except that—

           (1) in any case—

                 (A) the court, upon motion of the Director of the
              Bureau of Prisons, or upon motion of the defendant
              after the defendant has fully exhausted all
              administrative rights to appeal a failure of the Bureau
              of Prisons to bring a motion on the defendant’s behalf
              or the lapse of 30 days from the receipt of such a
              request by the warden of the defendant’s facility,
              whichever is earlier, may reduce the term of
              imprisonment . . . after considering the factors set forth
              in section 3553(a) to the extent that they are
              applicable, if it finds that—

                   (i) extraordinary and compelling reasons warrant
                 such a reduction . . .


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            and that such a reduction is consistent with applicable
            policy statements issued by the Sentencing
            Commission . . . .

     The statute provides for a reduction in a defendant’s sentence if

the court determines, after considering the factors set forth in 18 U.S.C.

§ 3553(a) to the extent they are applicable, that “extraordinary and

compelling reasons warrant such a reduction” and the reduction is

consistent with applicable policy statements issued by the Sentencing

Commission. 18 U.S.C. § 3582(c)(1)(A). The Sentencing Commission’s

policy statement, U.S.S.G. § 1B1.13, provides that a court may reduce

the term of imprisonment after considering the § 3553(a) factors if the

court finds that (i) “extraordinary and compelling reasons warrant the

reduction”; (ii) “the defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C. § 3142(g)”; and

(iii) “the reduction is consistent with this policy statement.” U.S.S.G.

§ 1B1.13.

     The phrase “extraordinary and compelling reasons” is defined

Application Note 1 to Section 1B1.13 of the Sentencing Guidelines. The

Sentencing Commission recognized that “extraordinary and compelling

reasons” could exist because of a defendant’s medical condition where:


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     (i)         The defendant is suffering from a terminal illness . . .
                 [or]

     (ii)        The defendant is—

           (I)     suffering from a serious physical or medical
                   condition,

           (II)    suffering from a serious functional or cognitive
                   impairment, or

           (III) experiencing deteriorating physical or mental health
                 because of the aging process,

     that substantially diminishes the ability of the defendant to
     provide self-care within the environment of a correctional
     facility and from which he or she is not expected to recover.

U.S.S.G. § 1B1.13 comment. (n.1(A)). The commentary also lists a set of

circumstances that apply where the inmate is at least 65 years old and

another set of circumstances that apply where a member of the inmate’s

family requires care—neither of which is relevant here—as possible

bases for relief. Id., comment. (n.1(B), (C)). Finally, the commentary

provides that extraordinary and compelling circumstances may exist if,

“[a]s determined by the Director of the Bureau of Prisons, there exists

in the defendant’s case an extraordinary and compelling reason other

than, or in combination with, the reasons described in subdivisions (A)

through (C).” Id., comment. (n.1(D)). That last basis “requires a

determination by the Bureau of Prisons (‘BOP’) in the defendant’s

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particular case that some other extraordinary and compelling reason

exists.” United States v. Lynn, 2019 WL 3082202, slip op. at *1 (S.D.

Ala. Jul. 15, 2019), appeal dismissed, 2019 WL 6273393 (11th Cir. Oct.

8, 2019).

     The policy statement refers only to motions filed by the Director of

the Bureau of Prisons. That is because the policy statement was last

amended on November 1, 2018 and, until the enactment of the First

Step Act on December 21, 2018, defendants were not entitled to file

motions under § 3582(c). See First Step Act of 2018, Pub. L. No. 115-

391, § 603(b), 132 Stat. 5194, 5239; cf. 18 U.S.C. § 3582(c) (2012).

     In the view of the government, the district court in this case, and a

number of other courts, the policy statement, including Application

Note 1, is “applicable” to motions brought by defendants. That view is

disputed; some courts disagree. Because Lyman’s motion for

compassionate release did not set forth extraordinary and compelling

reasons for a reduction in his sentence under any standard, however,

that issue need not be settled in this case.




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B.    Lyman, Who Had Contracted COVID-19 and
      Recovered, Failed to Show That He Was Likely to
      Contract COVID-19 Again

      For good reasons, many courts have denied relief to defendants

who have contracted COVID-19 and recovered. E.g., United States v.

Ieremia, 2021 WL 67313, at *2 n.3 (D. Haw. Jan. 7, 2021) (“A rare

chance of contracting a virus once recovered from simply does not meet

the bar for an extraordinary and compelling reason warranting

release.”), appeal filed, C.A. No. 21-10025 (9th Cir. Jan. 21, 2021);

United States v. Moore, 2020 WL 7264597, at *3 (E.D. Pa. Dec. 10, 2020)

(“Where Moore has not faced any medical complications related to his

COVID-19 infection or experienced an exacerbation of his underlying

health issues, his medical condition does not qualify as ‘an

extraordinary and compelling reason’ that would support his

compassionate release.”); United States v. Wiltshire, 2020 WL 7263184,

at *6 (E.D. Pa. Dec. 9, 2020) (“[T]he risk of reinfection after a prior

positive test for COVID-19 is a not basis for compassionate release here.

Presently, there is no scientific consensus on the risk of reinfection. . . .

Moreover, this Court is unable to find a case granting compassionate

release to a defendant who recovered from COVID-19 and was


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asymptomatic. To the contrary, the consensus is that such a

circumstance does not warrant release.”); United States v. Risley, 2020

WL 4748513, at *6 (E.D. Cal. Aug. 17, 2020) (“Courts generally find

that the risk of a second infection does not constitute sufficiently

compelling grounds to justify compassionate release.”); United States v.

Zahn, 2020 WL 3035795, at *2 (N.D. Cal. June 6, 2020) (Lompoc inmate

recovered and, while there was no certainty about risk of reinfection,

“[e]ven so, the immediate threat to Zahn has passed, fortunately with

no serious complications of any kind. That is enough to find that he has

not proffered an extraordinary and compelling reason for release under

18 U.S.C. § 3582(c)(1)(A)(i).”); United States v. Curtiss, 467 F. Supp. 3d

96, 99 (W.D.N.Y. 2020) (“[T]he fact that, as Defendant contends, there is

‘no guarantee that he will not become reinfected and suffer a worse

outcome’ . . . does not mean that extraordinary and compelling

circumstances justify a reduction in his prison sentence.”); United

States v. Shahbazpour, 2020 WL 3791633, at *2 (N.D. Cal. July 7, 2020)

(relief denied because “there is no evidence-based consensus [regarding

the risk of reinfection] among medical professionals”); United States v.

Billings, 2020 WL 4705285, at *5 (D. Colo. Aug. 13, 2020) (“At this


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point, however, the possibility of reinfection, if not impossible, is strictly

hypothetical. That uncertainty militates against an entitlement to

compassionate release.”); United States v. Pinkston, 2020 WL 3492035

(S.D. Ga. June 26, 2020) (relief denied where 70-year-old inmate had

recovered after hospitalization for COVID-19 and other conditions were

controlled); United States v. Gouveia, 2020 WL 6065299 (D. Haw. Oct.

14, 2020) (denying relief for Lompoc inmate who tested positive and

experienced shortness of breath; noting that as of October 14, 2020,

“even if reinfection is possible, it appears to be extremely rare, as

reinfections have been reported only a few times in the more than 6

million cases to date.”); United States v. Purry, 2020 WL 5909793, at *2

(D. Nev. Oct. 6, 2020) (possibility of reinfection does not change earlier

denial of relief; “a possibility that is unconfirmed by science is

insufficient to create an extraordinary and compelling circumstance

justifying his release”), appeal filed, C.A. No. 20-10341 (9th Cir. Oct. 21,

2020); United States v. Peuse, 2020 WL 5076356, at *3 (N.D. Cal. Aug.

24, 2020 (collecting cases showing that courts have consistently denied

“compassionate release to a defendant who has recovered or is expected

to recover from COVID-19 with no symptoms.”); United States v. Davis,


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2020 WL 3790562, at *3 (S.D.N.Y. July 7, 2020) (risk of reinfection is

only “speculative” and not sufficient); United States v. Burks, 2020 WL

4927481, at *3 (W.D.N.C. Aug. 21, 2020) (“defendant is 73 years old and

suffers from numerous medical conditions, including heart disease,

diabetes, and hypertension”; however, “[d]efendant cannot now meet his

burden of establishing that his risk is extraordinary and compelling

because he has already contracted the virus and escaped unscathed”),

appeal filed, C.A. No. 20-7357 (4th Cir. Sep. 4, 2020); United States v.

Logan, 2020 WL 3960999, at *2 (W.D.N.C. July 13, 2020) (“The

Defendant cannot meet his burden of establishing that his risk of

contracting COVID-19 is an extraordinary and compelling reason for a

sentence reduction when he has already contracted—and beaten—the

virus.”); United States v. Molley, 2020 WL 3498482, at *3 (W.D. Wash.

June 29, 2020) (scientific uncertainty regarding risk of reinfection “cuts

against compassionate release,” given that “the party seeking release

bears the burden of showing” that extraordinary circumstances exist).

     Lyman told the district court that “there simply is not enough

experience with COVID-19 to say that Mr. Lyman is safe from the

potentially devastating effects of COVID-19 . . . .” SER-20. That


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argument turns the burden of proof on its head: The burden falls upon

Lyman to demonstrate that he is not safe, and, more generally, that

extraordinary and compelling reasons warrant his release.

     Lyman admits that he “was among those who had become infected

and recovered,” OB 8, and he does not contest the district court’s

findings that “the record reflects that he has already contracted the

virus and not reported any adverse consequences,” ER-1, and that “he

denied any symptoms, such as a cough, as a result of the virus.” ER-4.

He argues—based largely on sources that post-date the district court’s

decision, see OB 35-38—that individuals who have contracted COVID-

19 and recovered can contract the disease again. No one disputes that

it is possible for individuals to become reinfected; the question, rather,

is whether it is at least likely that Lyman will.

     It should be noted that, except in unusual circumstances, this

Court “consider[s] only the district court record on appeal,” Lowry v.

Barnhart, 329 F.3d 1019, 1024 (9th Cir. 2003), and it “generally will not

allow parties to supplement the record on appeal.” United States v.

Boulware, 558 F.3d 971, 976 (9th Cir. 2009); Daly-Murphy v. Winston,

837 F.2d 348, 351 (9th Cir. 1987); see United States v. Mageno, 786 F.3d


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768, 775 n.6 (9th Cir. 2015) (“Rule 10(e) cannot be used to add to or

enlarge the record on appeal to include material which was not before

the district court.”); Rudin v. Myles, 781 F.3d 1043, 1057 n.18 (9th Cir.

2015) (documents that are not filed with district court generally cannot

be made part of appellate record); Fed. R. App. P. 10(a). This Court

does not consider events that occurred after the district court’s

judgment, because such matters are outside the record on appeal. E.g.,

Trans-Sterling, Inc. v. Bible, 804 F.2d 525, 528 (9th Cir. 1986); see

United States v. Carpenter, 816 F. App’x 159, 160 (9th Cir. 2020)

(declining, on appeal from denial of compassionate release motion, to

consider documents appellant submitted for first time on appeal; citing

Rudin v. Myles).

     The guidance from the Centers for Disease Control (CDC), the

defendant’s medical condition and place of incarceration, and the

situation at a given correctional facility are all factors considered by the

district court that can change very quickly. Indeed, they may change

repeatedly during the pendency of an appeal, which means that any

attempt to consider the current status of those factors as the appeal

progresses through its various stages would create a serious risk of


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chaos. It is therefore particularly appropriate—and necessary—that

this Court be here concerned “only with the record before the trial judge

when his [or her] decision was made.” United States v. Walker, 601

F.2d 1051, 1055 (9th Cir. 1975). This Court should therefore ignore

Lyman’s heavy reliance upon sources that post-date the district court’s

decision in this case. 2

      In any event, no one is claiming that it is impossible to contract

COVID-19 a second time. Significantly, however, Lyman bore the




      2 It should be noted that Lyman’s description of subsequent

authorities is also one-sided. If this Court were to consider subsequent
authorities, it might note that recent studies indicate that COVID-19
immunity, which results from antibodies produced following infection
with COVID-19, lasts many months, if not years. The National
Institutes of Health reported on December 8, 2020, for example, that
“[n]ew findings from a study of thousands of healthcare workers in
England show that those who got COVID-19 and produced antibodies
against the virus are highly unlikely to become infected again, at least
over the several months that the study was conducted. In the rare
instances in which someone with acquired immunity for SARS-CoV-2
subsequently tested positive for the virus within a six month period,
they never showed any signs of being ill.” NIH Director’s Blog, Study of
Healthcare Workers Shows COVID-19 Immunity Lasts Many Months,
https://directorsblog.nih.gov/2020/ 12/08/study-of-healthcare-workers-
shows-covid-19-immunity-lasts-many-months/ (last visited Dec. 29,
2020); see also Apoorva Mandavilli, Immunity to the Coronavirus May
Last Years, New Data Hint (The New York Times, Nov. 17, 2020
(updated Nov. 27, 2020)), available at nytimes.com/2020/11/17/health/
coronavirus-immunity.html (last visited Dec. 29, 2020).
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burden of demonstrating to the district court that there were

extraordinary and compelling reasons warranting a reduction in his

sentence, and he presented no evidence to the district court (indeed,

even with his improper citations to subsequent events, he has presented

nothing to this Court either) showing that it is likely that he will

contract COVID-19 a second time. A mere possibility that he might

does not rise to the level of an “extraordinary and compelling reason.”

     The CDC opines, as a general proposition, that persons with

certain medical conditions are at increased risk of severe illness if they

contract COVID-19. https://www.cdc.gov/ coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-conditions.html. The argument

that Lyman, in particular, is at increased risk of severe illness is,

however, largely countered by the fact that he actually contracted

COVID-19 without suffering any adverse consequences. In other words,

the evidence indicates that the generalization does not apply to him.

Lyman offered the district court no evidence that he is at greater risk of

severe illness if he contracts COVID-19 than anyone else would be. For

that reason, too, the denial of his motion for compassionate release was

not an abuse of the district court’s discretion.


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C.   Lyman Failed to Show That He Was Likely to Contract
     COVID-19 in a Facility in Which No Inmates and Only
     Two Staff Were Infected With COVID-19

     “[T]he mere existence of COVID-19 in society and the possibility

that it may spread to a particular prison alone cannot independently

justify compassionate release.” United States v. Raia, 954 F.3d 594, 597

(3d Cir. 2020). The inmate must show that there is a substantial

likelihood that he will contract COVID-19 if he remains incarcerated,

and further that he is more likely to contract COVID-19 if he remains

incarcerated than if he were released. E.g., United States v. Keeling,

2020 WL 6273978, at *3 (D. Idaho Oct. 26, 2020) (“Multiple courts have

denied compassionate release to prisoners, even those with high-risk

medical conditions, because many of them would likely be less-exposed

to the pandemic by remaining at the prison.”) (citing cases).

     As the district court noted, Lompoc, where Lyman was housed,

had no active cases among the inmate population. ER-5. Where there

are few active cases at a facility, no particular inmate is likely to

contract COVID-19, and courts routinely deny relief. E.g., United

States v. Bermudez, 2020 WL 7338556, at *2 (E.D. Pa. Dec. 14, 2020)

(“[M]ultiple courts have found that, despite its earlier failures to


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contain the disease within its inmate population, Lompoc has since

‘implemented sufficient protocols that the prison is now able to

adequately respond, monitor, and care for its inmates’ during the

pandemic.”); United States v. Colon, 2020 WL 6049215, at *7 (D. Conn.

Oct. 12, 2020) (“[I]n determining whether ‘extraordinary and compelling

reasons’ warrant a prisoner’s early release, courts routinely consider the

status of coronavirus infections at the particular institution where the

defendant is housed.”) (citing cases); United States v. Hernandez, 2020

WL 5203428, at *3 (E.D. Cal. Sept. 1, 2020) (“Because of the small

number of Covid 19 cases at FCI Lompoc, the changes that prison has

made, and the Defendant’s status as one who ‘might be’ at a heightened

risk because of hypertension, Defendant has failed to demonstrate

extraordinary and compelling circumstances that would justify

compassionate release.”); United States v. Risley, 2020 WL 4748513, at

*7 (E.D. Cal. Aug. 17, 2020) (“Given that Defendant has recovered from

Covid 19 without severe symptoms, and considering the small number

of Covid 19 positive cases at FCI Lompoc, as well as the recognized

improvements that Lompoc has made with respect to Covid 19, the

Court concludes that the possibility of reinfection from Covid 19 is too


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speculative to warrant compassionate release.”); United States v. Justis,

2020 WL 4365596, at *3 (E.D. Pa. July 29, 2020) (where institution has

no confirmed cases of COVID-19 among its inmate population and only

two confirmed cases among its staff, inmate “has not demonstrated a

more than mere speculative risk of exposure to COVID-19”), aff’d sub

nom. United States v. Doe, 833 F. App’x 366 (3d Cir. 2020) (per curiam)

(as to district court’s findings that institution had only two COVID-19

cases and that inmate’s fear he would contract COVID-19 was largely

speculative, inmate had “raised nothing calling those conclusions into

question”; district court did not abuse its discretion by denying motion);

United States v. Gorman, 2020 WL 4342218, at *3 (S.D.W. Va. July 28,

2020) (although inmate had combination of medical conditions that

placed him at risk of developing severe illness from COVID-19, he was

housed at facility that reported only one inmate and one staff member

who had tested positive, and his risk was therefore merely speculative);

United States v. Buckman, 2020 WL 4201509, at *4 (E.D. Pa. July 22,

2020) (“When prisons can keep the number of positive COVID-19 cases

low or even at zero, which is the case at Alderson FPC, the risk of

exposure is too speculative to render the circumstances extraordinary


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and compelling.”); United States v. Malik, 2020 WL 4003289 (D. Md.

July 15, 2020) (although inmate had medical conditions that increased

his risk of severe illness if he contracted COVID-19, no extraordinary

and compelling reasons for release were present in part because there

were no confirmed active cases of COVID-19 at his institution); United

States v. Platt, 2020 WL 3839847, at *3 (D. Colo. July 8, 2020) (“The

Court recognizes that additional waves of the virus may continue to

threaten the facility until a vaccine or an effective treatment is

discovered. However, while FCI Lompoc appears to have been a

frightening place for a prisoner to be housed at the outset of the

pandemic, conditions appear to have improved greatly and the BOP

now has much greater experience dealing with COVID-19.”)

     The district court in this case did not abuse its discretion when it

concluded that Lyman, who was not particularly likely to contract

COVID-19 while incarcerated at an institution that had zero active

cases among its inmates and only two active cases among its staff, did

not present extraordinary and compelling reasons warranting a

reduction in sentence.




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D.   This Court Need Not Determine in This Case Whether
     U.S.S.G. § 1B1.13 and Its Commentary Are Binding
     Upon District Courts When Compassionate Release
     Motions Are Brought by Defendants

     In his opening brief, Lyman argues at great length that the

district judge in this case, the Honorable Derrick K. Watson, United

States District Judge, incorrectly believed that he was bound by the

applicable policy statement, U.S.S.G. § 1B1.13, and its commentary.

OB 8-14, 16-31. Further, Lyman states flatly that, “[l]argely driven by

that notion,” Judge Watson “has yet to grant any defendant

§ 3582(c)(1)(A) relief during the Covid-19 pandemic.” OB 10.

     In recent months, however, Judge Watson has granted motions for

compassionate release. Order Granting Motion for Compassionate

Release, United States v. Mapuatuli, Crim. No. 12-1301 DKW, ECF No.

392 (D. Haw. Feb. 9, 2021) (Watson, J.) (granting motion for

compassionate release because inmate is suffering from end-stage renal

disease, COVID-19, and debilitating stroke); United States v. Lindell,

2021 WL 420059 (D. Haw. Feb. 5, 2021) (Watson, J.) (granting motion

for compassionate release based upon inmate’s deteriorating physical

health and receipt of subpar medical care while incarcerated); United

States v. Cornelio, 2020 WL 6021466 (D. Haw. Oct. 12, 2020) (Watson,

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J.) (granting motion for compassionate release based upon inmate’s

obesity, type 2 diabetes, and other medical conditions, combined with

high risk of contracting COVID-19 at facility). Judge Watson’s written

opinions in these cases, particularly Cornelio, make clear that—even if

his conclusion (and the government’s) that U.S.S.G. § 1B1.13 applies to

motions brought by defendants is not correct—that view did not and

does not constrain his exercise of discretion in cases where

extraordinary and compelling reasons actually warrant release.

     Judge Watson did not protest that he was unable to grant relief

that he might otherwise have granted because he was constrained to

apply U.S.S.G. § 1B1.13 and its commentary. To the contrary, he

simply concluded that the reasons put forward by the defense were not

extraordinary and compelling. The record strongly supports his

reasoning. See United States v. Hinkson, 585 F.3d 1247, 1262 (9th Cir.

2009) (en banc).

     It would be one thing to conclude, as a few courts of appeals have

done, that the policy statement and its commentary are not binding

upon district courts (a conclusion with which, as discussed below, the

government disagrees). It would be a radically different thing, however,


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to conclude that a district court cannot consider the factors set forth in

the policy statement and commentary and doing so would be an abuse

of a district court’s discretion. At worst, Judge Watson, considering

those factors, concluded that Lyman had not shown extraordinary and

compelling reasons that warranted Lyman’s release.

     Given that, under any standard, Lyman failed to show that

extraordinary and compelling reasons warrant his release, Judge

Watson’s decision was hardly an abuse of discretion. See United States

v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021) (“Although not

dispositive, the commentary to the United States Sentencing Guidelines

(“U.S.S.G.”) § 1B1.13 informs our analysis as to what reasons may be

sufficiently ‘extraordinary and compelling’ to merit compassionate

release.”); United States v. Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020)

(Easterbrook, J.) (finding U.S.S.G. § 1B1.13 and its commentary not

binding upon district courts when motions brought by defendants, but

observing that “[t]he substantive aspects of the Sentencing

Commission’s analysis in § 1B1.13 and its Application Notes provide a

working definition of ‘extraordinary and compelling reasons’; a judge




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who strikes off on a different path risks an appellate holding that

judicial discretion has been abused.”).

      In summary, Judge Watson evaluated appropriate criteria,

particularly Lyman’s likelihood of contracting COVID-19 again; his

likelihood of contracting COVID-19 at his facility; and, in light of his

recovery from his first bout of COVID-19 without adverse effects, his

likelihood of becoming seriously ill if he did contract COVID-19 again.

Whether or not section 1B1.13 and its commentary are binding on

district courts, it is appropriate—and certainly not an abuse of

discretion—for a district court to consider those criteria. As in United

States v. Markillie, — F. App’x —, 2021 WL 276350 (9th Cir. Jan. 27,

2021), “[r]egardless of the applicability of U.S.S.G. § 1B1.13, the district

court properly denied the motion on the basis of statutory factors set

forth in § 3582(c)(1)(A)(i) . . . .” Id. at *1.

      To find an abuse of discretion, the district court’s decision must be

“(1) illogical, (2) implausible, or (3) without support in inferences that

may be drawn from the facts in the record.” United States v. Hinkson,

585 F.3d 1247, 1262 (9th Cir. 2009) (en banc) (internal quotations

omitted). The district court’s decision was none of those things. Indeed,


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the district court’s decision was grounded in the same reasoning it

would have engaged in if it had been bound only by the statutory text of

the First Step Act.

     As Judge Watson found in a similar case:

     If this Court did not find the policy statement controlling,
     [the defendant] imagines he would be entitled to the relief he
     seeks. But the terms “extraordinary” and “compelling” must
     mean something and even courts that do not find the policy
     statement to be controlling look, largely, at the same criteria
     in the policy statement and considered by this Court. . . .
     Whether the policy statement is binding is, in other words, of
     little practical consequence because courts, by and large,
     consider the same criteria regardless (e.g., the defendant’s
     health conditions and risk at his facility).

United States v. Ieremia, 2021 WL 67313, at *3-4 n.3 (D. Haw. Jan. 7,

2021). It bears reiterating that, as Judge Watson pointed out in

Ieremia, “courts, by and large, consider the same criteria (e.g., the

defendant’s health conditions and risk at his facility),” id., regardless of

whether they view the policy statement and commentary as binding.

     Incidentally, this case would be a poor vehicle to decide the legal

issue whether § 1B1.13 and its commentary are “applicable” to

defendant-filed motions for compassionate release, because it is not

primarily a “catchall” case. In a “catchall” case, the district court grants

relief for some new reason beyond the text of § 1B1.13 and its

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commentary. See, e.g., United States v. Shields, 2019 WL 2359231, at

*4 (N.D. Cal. June 4, 2019) (denying motion for compassionate release

based on illness of defendant’s daughter). That type of case would force

an appellate court to decide whether district courts can or cannot grant

relief for reasons beyond the text of section 1B1.13. In this case (with

the arguable exception of Lyman’s argument concerning the change in

statutory mandatory minimum, which is discussed in subsection (F)

below), the merits of Lyman’s arguments do not depend upon whether

section 1B1.13 and its commentary were or were not binding upon the

district court.

E.    The District Court Was Correct That Section 1B1.13 Is
      Applicable to Motions Brought by Defendants

      As noted above, whether section 1B1.13 and its commentary are

applicable to motions brought by defendants or only motions brought by

the Bureau of Prisons does not determine the outcome of this appeal:

Either way, the district court did not abuse its discretion when it

decided that an inmate who has already contracted and recovered from

COVID-19, and who is housed at a facility with very few active cases of

COVID-19, has not shown extraordinary and compelling reasons

warranting release.

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     In the government’s view, the district court was correct that

section 1B1.13 and its commentary apply to motions brought by

defendants. The issue need not be reached in this case—and, by the

time this Court decides this case, this Court may already have decided

the issue anyway. In case this Court does reach the issue in this case,

however, it should hold that section 1B1.13 and its commentary are

applicable to all motions for compassionate release brought pursuant to

18 U.S.C. § 3582(c)(1)(A), whether brought by the BOP or by

defendants.

     A court may generally “not modify a term of imprisonment once it

has been imposed.” 18 U.S.C. § 3582(c); Dillon v. United States, 560

U.S. 817, 824-25 (2010). A district court has no inherent authority to

reconsider or alter an imposed sentence except pursuant to statutory

authorization. See, e.g., Dillon, 560 U.S. at 824; United States v.

Addonizio, 442 U.S. 178, 189 & n.16 (1979) (“The beginning of the

service of the sentence in a criminal case ends the power of the court

even in the same term to change it.”) (quotation omitted). Congress

explicitly mandated in section 3582(c) that any reduction in a sentence

be “consistent with applicable policy statements issued by the


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Sentencing Commission.” 18 U.S.C. §§ 3582(c)(1), (2). At the very least,

it was Congress’s intent that an applicable policy statement be issued

and that it be followed.

     The only such policy statements are embodied in U.S.S.G § 1B1.13

and its commentary. It is true that U.S.S.G. § 1B1.13 refers to motions

filed by the Director of the Bureau of Prisons—but that is merely a

function of its age. It was promulgated at a time when those were the

only type of motions for compassionate release that could be filed. Only

since the First Step Act became law in 2018 have defendants

themselves been able to file motions for compassionate release. See

First Step Act, § 603(b), 132 Stat. 5194 (2018). That peculiar quirk of

timing should not render Application Note 1(A)’s definition of

“extraordinary and compelling reasons” inapplicable to an inquiry into

what constitutes “extraordinary and compelling reasons” for release

under the statute.

     Nothing in the First Step Act altered the substantive criteria for

compassionate release. The plain language and purpose of the

exhaustion requirement in § 3582(c) require the movant to present the

same basis for relief to the BOP and to the district court. That basis for


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relief should, accordingly, be considered when deciding a motion for

compassionate release.

     The courts are asked to determine whether an inmate has

presented an “extraordinary and compelling reason” justifying early

release under the definition of that term promulgated by the Sentencing

Commission. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. A contrary

holding would essentially give courts a discretionary power to release

inmates even after the imposition of a congressionally-mandated

minimum sentence; would eliminate the crucial finality of criminal

sentences and thus deprive the criminal justice system “of much of its

deterrent effect,” Teague v. Lane, 489 U.S. 288, 309 (1989); and would

subsume section 3582(c)(2), under which the courts may reduce a

sentence based on an amendment to the Guidelines only if the

Sentencing Commission has made the amendment retroactive.

     Although the history and text of the First Step Act suggest that

Congress intended to broaden the availability of compassionate release

(its title is “Increasing the Use and Transparency of Compassionate

Release”), Congress in fact only expanded access to the courts; it did not

change the applicable standard. See United States v. Willis, 382 F.


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Supp. 3d 1185, 1187 (D.N.M. 2019) (“Aside from allowing prisoners to

bring a motion directly, the First Step Act did not change the standards

for compassionate release.”). Congress did not revise the statute’s

substantive text or alter the Sentencing Commission’s authority to

define “extraordinary and compelling reasons.” And there is no hint in

the text of the statute, the First Step Act, or the Sentencing

Commission’s policy statements that the identity of the movant should

affect the meaning of the phrase “extraordinary and compelling

reasons.” See, e.g., United States v. Lum, 2020 WL 3472908, at *3-4 (D.

Haw. Jun. 25, 2020) (“Courts are not at liberty to treat the

Commission’s commentary as merely persuasive, of only limited

authority, or not binding on the federal courts”; accordingly, “the

Commission’s commentary is a binding interpretation of the phrase

‘extraordinary and compelling.’” (brackets and some internal quotation

marks omitted)); United States v. McCloud, 2020 WL 2843220, at *2

(S.D. Ga. Jun. 1, 2020) (contrary interpretation “contravenes express

Congressional intent that the Sentencing Commission, not the

judiciary, determine what constitutes an appropriate use of the

‘compassionate release’ provision”; “§ 3582(c)(1)(A) as amended by the


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First Step Act still requires courts to abide by policy statements issued

by the Sentencing Commission.”); United States v. Strain, 2020 WL

1977114, at *4 (D. Alaska Apr. 24, 2020) (“Nothing in the First Step Act

nullifies, amends, or expressly contradicts the definition of

‘extraordinary and compelling reasons’ provided by U.S.S.G. § 1B1.13.

Thus, the Court finds that it is the clear command of 18 U.S.C.

§ 3582(c)(1)(A) that district courts may only grant compassionate

release where consistent with U.S.S.G. § 1B1.13 as written.”); United

States v. Mollica, 2020 WL 1914956, at *4 (N.D. Ala. Apr. 20, 2020)

(“Multiple district courts within this Circuit that have addressed the

issue have found that the policy statement, as written, remains in effect

until the Sentencing Commission sees fit to change it . . . .”); United

States v. Nasirun, 2020 WL 686030, slip op. at *2 (M.D. Fla. Feb. 11,

2020) (holding district court without authority to grant relief where

defendant does not meet criteria set forth in § 1B1.13 commentary);

United States v. Dodd, 471 F. Supp. 3d 750, 757-58 (E.D. Tex. 2020)

(“The fact that Congress’s change to section 3582’s procedural

mechanism necessarily overrides a Sentencing Commission policy

statement concerning the same procedural mechanism cannot be


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translated into congressional intent to alter the statute’s provisions

governing the merits of compassionate-release motions.”); see also

United States v. Bell, 823 F. App’x 283, 284 (5th Cir. 2020) (dismissing

appeal as frivolous where reduction of sentence based on inmate’s

proffered reasons would not be consistent with section 1B1.13 and its

commentary); United States v. Saldana, 807 F. App’x 816, 821 (10th

Cir. 2020) (holding district court should have dismissed motion for

compassionate release brought on basis not identified as extraordinary

and compelling reason in section 1B1.13 commentary).

     While it has not yet addressed the issue in a precedential opinion,

this Court treated section 1B1.13 as binding upon the district court in

United States v. Arceneaux, 2020 WL 7230958 (9th Cir. Dec. 8, 2020)

(unpublished). In that case, this Court, holding that the district court

had not abused its discretion by denying appellant’s motion for

compassionate release, observed that the district court had “considered

the nature and circumstances of the armed robberies for which

Arceneaux was convicted and his lengthy criminal history, and

reasonably concluded that a reduced sentence was not appropriate in

light of the danger Arceneaux posed to the community. See 18 U.S.C.


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§ 3582(c)(1)(A) (reduction must be consistent with the Sentencing

Commission’s policy statements); U.S.S.G. § 1B1.13(2) (district court

may grant compassionate release only if ‘[t]he defendant is not a danger

to the safety of any other person or to the community’).” Id., slip op. at

*1.

      There is no logical reason to treat motions filed by defendants

differently from motions filed by Bureau of Prisons. The government

respectfully suggests that the courts that have found otherwise merely

wish—in some cases for understandable reasons—to exercise their

discretion beyond the authority granted by Congress. Until Congress

acts, or the Sentencing Commission modifies its policy statement, the

government respectfully submits that the district courts are bound by

section 1B1.13 and the definition of “extraordinary and compelling

reasons” set forth in the commentary.

      The courts who have ruled against the government on this issue

have done so on the ground that section 1B1.13 is not “applicable” to

defendant-filed motions. United States v. McCoy, 981 F.3d 271 (4th Cir.

2020) (“[T]here currently exists no ‘applicable policy statement[].’”);

United States v. Jones, 980 F.3d 1098 (6th Cir. 2020) (“§ 1B1.13 does


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not ‘apply’ to cases where an imprisoned person files a motion for

compassionate release”); United States v. Gunn, 980 F.3d 1178 (7th Cir.

2020) (“Section 1B1.13 addresses motions and determinations of the

Director, not motions by prisoners. In other words, the Sentencing

Commission has not yet issued a policy statement ‘applicable’ to Gunn’s

request.”); United States v. Brooker, 976 F.3d 228, 236 (2d Cir. 2020)

(“Because Guideline § 1B1.13 is not ‘applicable’ to compassionate

release motions brought by defendants, Application Note 1(D) cannot

constrain district courts’ discretion to consider whether any reasons are

extraordinary and compelling.”). That is because the prefatory

paragraph of § 1B1.13 begins with the phrase “Upon motion of the

Director of the Bureau of Prisons,” and these cases involve motions by a

defendant, not BOP. But that starts the statutory analysis at the

wrong end. Courts should not constrain statutory analysis based on the

prefatory text of a policy statement, particularly when the pertinent

part of the policy statement at issue is the definition of a key statutory

term, and that definition is contained in a different part of the policy

statement that omits reference to BOP-filed motions.




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     “Applicable” means “relevant” or “appropriate.” See United States

v. Ruffin, 978 F.3d 1000, 1007 (6th Cir. 2020) (quoting Webster’s New

World Dictionary of American English 67 (3d coll. ed. 1988)).

“Relevant” means “bearing upon or connected with the matter in hand;

pertinent.” Dictionary.com. Other definitions of “applicable” include

“affecting or relating to a person or a thing.” Cambridge Dictionary,

available at dictionary.cambridgeorg/us/.

     The definition of the key statutory term at issue (“extraordinary

and compelling reasons”) promulgated by the very body identified in the

statute (the Sentencing Commission), must be “relevant” to (meaning

“bearing upon” or “connected with”) the analysis commanded by the

statute. The fact that the prefatory clause in the body of section 1B1.13

causes it to apply to certain other types of motions does not mean that

the definition of “extraordinary and compelling” in Application Note

1(A) has no “bearing” on or “connection” to the statutory language at

issue—particularly since Application Note 1(A) does not refer to BOP-

filed motions. Similarly, the fact that the policy statement was

promulgated before the statute was revised to allow defendant-filed

motions for compassionate release does not eliminate the “relevance” to


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the statutory analysis of the Sentencing Commission’s definition of

“extraordinary and compelling” in Application Note 1(A). It would be

error to ignore Application Note 1(A) when determining whether a

sentencing reduction is “consistent with applicable policy statements

issued by the Sentencing Commission,” because Application Note 1(A) is

necessarily “connected” to the statutory language that it defines. The

courts that hold otherwise construe the statutory term “applicable” too

narrowly.

F.   The District Court Correctly Did Not Consider
     Changes to the Sentencing Laws That Congress
     Intentionally Made Not Retroactive

     Section 401 of the First Step Act, which was enacted on December

21, 2018, made the minimum mandatory sentence set forth in 21 U.S.C.

§ 841(b)(1)(A) applicable to defendants who were previously convicted of

a “serious drug felony” instead of merely a “felony drug offense,” and it

reduced the minimum mandatory sentence for a person who had been

convicted of one such prior drug offense from 20 years to 15 years. First

Step Act of 2018, Pub. L. No. 115-391, § 401, 132 Stat. 5194 (Dec. 21,

2018). Lyman posits that he would therefore be subject to a 15-year

mandatory minimum sentence, rather than a 20-year mandatory


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minimum sentence, if he were sentenced today. OB 42. The First Step

Act itself provides, however, that section 401 and the amendments

made by it “shall apply to any offense that was committed before the

date of enactment of this Act, if a sentence for the offense has not been

imposed as of such date of enactment.” First Step Act, § 401(c)

(emphasis added). Lyman—who was sentenced in 2014—does not deny

that a sentence for his offense had been imposed as of the date of

enactment, December 21, 2018.

     In a footnote in his original motion for compassionate release,

Lyman asked the district court to consider the change in the mandatory

minimum under 18 U.S.C. § 3553(a). SER-28 n.33. He gave the

argument more attention in a supplemental memorandum, arguing

that “such changes in law constitute extraordinary and compelling

reasons for a sentence reduction.” SER-7. His opening brief argues

that the district court should consider the change in the mandatory

minimum as a section 3553(a) factor, OB 42, but it also implies that the

district court should have reduced Lyman’s sentence solely because the

mandatory minimum was subsequently reduced. OB 44.




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     The district court found “entirely unpersuasive Lyman’s argument

that a change in the law—the First Step Act—constitutes an

‘extraordinary and compelling’ circumstance under Section

3582(c)(1)(A)(i).” ER-5. In the first place, such a reduction would not be

consistent with Application Note 1 to U.S.S.G. § 1B1.13, which, with

one exception the district court found inapplicable, focuses upon health

concerns of various kinds. ER-5–6. Equally importantly, “deeming the

First Step Act an ‘extraordinary and compelling’ circumstance would

also be inconsistent with the First Step Act itself, which expressly does

not make the change in the law upon which Lyman relies retroactive to

individuals such as himself.” ER-6 (citing First Step Act, Pub. L. No.

115-391, 132 Stat. 5194, § 401(c)).

     Congress determines whether a statute is retroactive, Dorsey v.

United States, 567 U.S. 260, 274 (2012), and in this case Congress

expressly did not make the changes in mandatory minimum sentences

retroactive. This was not an accident; in the same statute, Congress

expressly made other lowered penalties retroactive, demonstrating

beyond peradventure that it knew how to do so if it wished. See First

Step Act, § 404(b).


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      Regardless of the applicability or non-applicability of section

1B1.13, courts should not give weight to changes in sentencing laws

that Congress intentionally made not retroactive. To hold otherwise

would eviscerate congressional intent. Every inmate who might receive

a reduced sentence today would be eligible for compassionate release,

and Congress’s decision not to make section 401 of the First Step Act

retroactive would be meaningless.

      Lyman does not cite any case in which a court has held that a

statutory penalty reduction that Congress expressly provided was not

retroactive constitutes, standing alone, an extraordinary and

compelling reason warranting compassionate release. See OB 41-44.

No case has upheld such an obvious end-run around the express intent

of Congress.

      The question of whether such a penalty reduction is relevant to a

decision whether to grant compassionate release based primarily upon

other factors is a closer question, but it is a question that requires little

consideration here. The district court did not discuss the section

3553(a) factors in this case because Lyman simply did not demonstrate

extraordinary and compelling reasons that—with or without


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consideration of the section 3553(a) factors—might justify release. (It is

apparent from the structure of section 3582(c)(1)(A) that section 3553(a)

factors must be considered but are not themselves a basis for

compassionate release.) Assuming arguendo that the reduction in the

statutory mandatory minimum wrought by section 401 of the First Step

Act can properly be considered pursuant to section 3553(a), it was not

an abuse of the district court’s discretion not to reach that factor—or

other section 3553(a) factors—in the circumstances of this case.

     In sum, Lyman failed to show extraordinary and compelling

reasons warranting release, and the district court did not abuse its

discretion when it so concluded.




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                               CONCLUSION

     For the foregoing reasons, the district court’s decision denying

Lyman’s motion for compassionate release should be affirmed.

                                            Respectfully submitted,

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                                ADDENDUM

18 U.S.C. § 3582
Imposition of a sentence of imprisonment

   (c) Modification of an imposed term of imprisonment.—The
court may not modify a term of imprisonment once it has been imposed
except that—

     (1) in any case—

        (A) the court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the defendant has
     fully exhausted all administrative rights to appeal a failure of the
     Bureau of Prisons to bring a motion on the defendant’s behalf or
     the lapse of 30 days from the receipt of such a request by the
     warden of the defendant’s facility, whichever is earlier, may
     reduce the term of imprisonment (and may impose a term of
     probation or supervised release with or without conditions that
     does not exceed the unserved portion of the original term of
     imprisonment), after considering the factors set forth in section
     3553(a) to the extent that they are applicable, if it finds that—

           (i) extraordinary and compelling reasons warrant such a
        reduction; or

           (ii) the defendant is at least 70 years of age, has served at
        least 30 years in prison, pursuant to a sentence imposed
        under section 3559(c), for the offense or offenses for which the
        defendant is currently imprisoned, and a determination has
        been made by the Director of the Bureau of Prisons that the
        defendant is not a danger to the safety of any other person or
        the community, as provided under section 3142(g);

     and that such a reduction is consistent with applicable policy
     statements issued by the Sentencing Commission; and




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       (B) the court may modify an imposed term of imprisonment to
    the extent otherwise expressly permitted by statute or by Rule 35
    of the Federal Rules of Criminal Procedure; and

     (2) in the case of a defendant who has been sentenced to a term of
  imprisonment based on a sentencing range that has subsequently
  been lowered by the Sentencing Commission pursuant to 28 U.S.C.
  994(o), upon motion of the defendant or the Director of the Bureau of
  Prisons, or on its own motion, the court may reduce the term of
  imprisonment, after considering the factors set forth in section
  3553(a) to the extent that they are applicable, if such a reduction is
  consistent with applicable policy statements issued by the
  Sentencing Commission.

U.S.S.G. § 1B1.13
Reduction in Term of Imprisonment Under 18 U.S.C.
§ 3582(c)(1)(A) (Policy Statement)

  Upon motion of the Director of the Bureau of Prisons under 18 U.S.C.
  § 3582(c)(1)(A), the court may reduce a term of imprisonment (and
  may impose a term of supervised release with or without conditions
  that does not exceed the unserved portion of the original term of
  imprisonment) if, after considering the factors set forth in 18 U.S.C.
  § 3553(a), to the extent that they are applicable, the court determines
  that—

  (1)     (A)   extraordinary and compelling reasons warrant the
                reduction; or

          (B)   the defendant (i) is at least 70 years old; and (ii) has
                served at least 30 years in prison pursuant to a sentence
                imposed under 18 U.S.C. § 3559(c) for the offense or
                offenses for which the defendant is imprisoned;

  (2)     the defendant is not a danger to the safety of any other person
          or to the community, as provided in 18 U.S.C. § 3142(g); and

  (3)     the reduction is consistent with this policy statement.
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U.S.S.G. § 1B1.13 Application Note 1

1. Extraordinary and Compelling Reasons.—Provided the
   defendant meets the requirements of subdivision (2) [of U.S.S.G.
   § 1B1.13], extraordinary and compelling reasons exist under any of
   the circumstances set forth below:

  (A)     Medical Condition of the Defendant.—

          (i)    The defendant is suffering from a terminal illness (i.e., a
                 serious and advanced illness with an end of life
                 trajectory). A specific prognosis of life expectancy (i.e., a
                 probability of death within a specific time period) is not
                 required. Examples include metastatic solid-tumor
                 cancer, amyotrophic lateral sclerosis (ALS), end-stage
                 organ disease, and advanced dementia.

          (ii)   The defendant is—

                 (I)    suffering from a serious physical or medical
                        condition,

                 (II)   suffering from a serious functional or cognitive
                        impairment, or

                 (III) experiencing deteriorating physical or mental health
                       because of the aging process,

                 that substantially diminishes the ability of the defendant
                 to provide self-care within the environment of a
                 correctional facility and from which he or she is not
                 expected to recover.

  (B)     Age of the Defendant.—The defendant (i) is at least 65 years
          old; (ii) is experiencing a serious deterioration in physical or
          mental health because of the aging process; and (iii) has served
          at least 10 years or 75 percent of his or her term of
          imprisonment, whichever is less.
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  (C)     Family Circumstances.—

          (i)    The death or incapacitation of the caregiver of the
                 defendant’s minor child or minor children.

          (ii)   The incapacitation of the defendant’s spouse or registered
                 partner when the defendant would be the only available
                 caregiver for the spouse or registered partner.

  (D)     Other Reasons.—As determined by the Director of the Bureau
          of Prisons, there exists in the defendant’s case an extraordinary
          and compelling reason other than, or in combination with, the
          reasons described in subdivisions (A) through (C).

The First Step Act, Pub. L. No. 115-391, 132 Stat. 5194 (Dec. 21,
2018).
Sec. 401. Reduce and Restrict Enhanced Sentencing for Prior
Drug Felonies.

   (a) C ONTROLLED S UBSTANCES A CT AMENDMENTS .—The
Controlled Substances Act (21 U.S.C. 801 et seq.) is amended—

        (1) in section 102 (21 U.S.C. 802), by adding at the end the
   following:

       “(57) The term ‘serious drug felony’ means an offense described
   in section 924(e)(2) of title 18, United States Code, for which—

            “(A) the offender served a term of imprisonment of more
         than 12 months; and

            “(B) the offender’s release from any term of imprisonment
         was within 15 years of the commencement of the instant offense.

         “(58) The term ‘serious violent felony’ means—




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    “(A) an offense described in section 3559(c)(2) of title 18,
 United States Code, for which the offender served a term of
 imprisonment of more than 12 months; and

     “(B) any offense that would be a felony violation of section
 113 of title 18, United States Code, if the offense were
 committed in the special maritime and territorial jurisdiction of
 the United States, for which the offender served a term of
 imprisonment of more than 12 months.”; and

 (2) in section 401(b)(1) (21 U.S.C. 841(b)(1))—

      (A) in subparagraph (A), in the matter following clause
 (viii)—

         (i) by striking “If any person commits such a violation
     after a prior conviction for a felony drug offense has become
     final, such person shall be sentenced to a term of
     imprisonment which may not be less than 20 years” and
     inserting the following: “If any person commits such a
     violation after a prior conviction for a serious drug felony or
     serious violent felony has become final, such person shall be
     sentenced to a term of imprisonment of not less than 15
     years”; and

         (ii) by striking “after two or more prior convictions for a
     felony drug offense have become final, such person shall be
     sentenced to a mandatory term of life imprisonment without
     release” and inserting the following: “after 2 or more prior
     convictions for a serious drug felony or serious violent felony
     have become final, such person shall be sentenced to a term
     of imprisonment of not less than 25 years”; and

     (B) in subparagraph (B), in the matter following clause (viii),
 by striking “If any person commits such a violation after a prior
 conviction for a felony drug offense has become final” and
 inserting the following: “If any person commits such a violation
 after a prior conviction for a serious drug felony or serious
 violent felony has become final”.
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   (b) C ONTROLLED S UBSTANCES I MPORT AND E XPORT A CT
AMENDMENTS .—Section 1010(b) of the Controlled Substances Import
and Export Act (21 U.S.C. 960(b)) is amended—

       (1) in paragraph (1), in the matter following subparagraph (H),
   by striking “If any person commits such a violation after a prior
   conviction for a felony drug offense has become final, such person
   shall be sentenced to a term of imprisonment of not less than 20
   years” and inserting “If any person commits such a violation after a
   prior conviction for a serious drug felony or serious violent felony
   has become final, such person shall be sentenced to a term of
   imprisonment of not less than 15 years”; and

       (2) in paragraph (2), in the matter following subparagraph (H),
   by striking “felony drug offense” and inserting “serious drug felony
   or serious violent felony”.

(c) A PPLICABILITY TO PENDING CASES .—This section, and the
amendments made by this section, shall apply to any offense that was
committed before the date of enactment of this Act, if a sentence for the
offense has not been imposed as of such date of enactment.




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